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 6   Attorneys for Defendant
     ADVANCED MICRO DEVICES, INC.
 7

 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                       OAKLAND DIVISION

11
     TONY DICKEY, and PAUL PARMER               Case No. 4:15-cv-04922 HSG
12   individually and on behalf of all others
     similarly situated,                        DECLARATION OF E. CLAY MARQUEZ
13                                              IN SUPPORT OF JOINT STIPULATION
                           Plaintiffs,          TO ENLARGE ALL PRE-TRIAL AND
14                                              TRIAL DEADLINES PENDING
            v.                                  SUBMISSION OF MOTION FOR
15                                              PRELIMINARY APPROVAL OF
     ADVANCED MICRO DEVICES, INC., a            SETTLEMENT
16   Delaware corporation,
                                                Judge:    Hon. Haywood S. Gilliam, Jr.
17                         Defendant.
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28                                                          MARQUEZ DECL. ISO JOINT STIP. TO
                                                         ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                  CASE NO. 4:15-CV-04922 HSG
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 1           I, E. Clay Marquez, declare and state as follows:

 2           1.      I am an attorney admitted to practice before all courts of the State of California

 3   and in the Northern District of California, and I am an attorney with O’Melveny & Myers LLP,

 4   counsel of record for defendant Advanced Micro Devices, Inc. (“AMD”) in the above-captioned

 5   case. I have personal knowledge of the facts set forth below and, if called upon, could and would

 6   testify to the truth of the following.

 7           2.      I submit this declaration pursuant to Local Civil Rule 6-2(a) in support of the

 8   Parties’ Joint Stipulation to Enlarge All Pre-Trial and Trial Deadlines Pending Submission of

 9   Motion for Preliminary Approval of Settlement.

10           3.      The Parties participated in a mediation session before the Honorable James F.

11   Holderman (Ret.) of JAMS in May 2019, and as a result, have reached an agreement in principle

12   to settle this case on a class-wide basis, subject to the Court’s preliminary and final approval of

13   the terms of settlement.

14           4.      The Parties anticipate needing approximately 30 days to finalize the terms of the

15   settlement and file a motion for preliminary approval.

16           5.      The Parties have conferred and agreed, subject to the Court’s approval, to enlarge

17   all current pre-trial and trial deadlines by approximately 60 days to allow for the preparation of a

18   formal settlement agreement and papers in support of Plaintiffs’ anticipated motion for

19   preliminary approval of class settlement.

20           6.      The Parties have further conferred and anticipate requesting the Court to issue a

21   formal stay vacating all pre-trial and trial deadlines in connection with the submission of

22   Plaintiffs’ anticipated motion for preliminary approval, pending final approval of settlement.

23           7.      Staying the current pre-trial and trial deadlines would avoid potentially

24   unnecessary expenses and fees while the Parties finalize their settlement and prepare a motion for

25   preliminary approval and notice of class-wide settlement.

26           8.      The Parties recently filed a joint stipulation seeking an enlargement of time for the

27   completion of discovery (and the potential for discovery disputes) to improve the prospects of the

28   above-mentioned—and now successful—mediation. See Dkt. 142. Otherwise, no time
                                                                    MARQUEZ DECL. ISO JOINT STIP. TO
                                                     -1-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
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 1   modifications have been requested by the Parties since June 2017. A complete list of prior time

 2   modifications made in this case, whether by stipulation or Court order, is as follows: on

 3   November 17, 2015, the Parties stipulated to extend Defendant’s time to respond to the complaint

 4   (Dkt. 21); on December 21, 2015, the Court granted the Parties’ stipulation setting a briefing

 5   schedule for Defendant’s motion to dismiss and rescheduling the initial case management

 6   conference (Dkt. 26); on February 16, 2016, the Court granted the Parties’ stipulation continuing

 7   the hearing on Defendant’s motion to dismiss as well as the date for the case management

 8   conference (Dkt. 40); on April 21, 2016, the Court granted the Parties’ stipulation extending the

 9   time for Plaintiff to file a First Amended Complaint and setting a briefing schedule for

10   Defendant’s motion to dismiss (Dkt. 48); on May 31, 2016, the Court granted the Parties’ joint

11   stipulation extending time for the parties to engage in ADR process (Dkt. 54); on August 23,

12   2016, the Court granted a subsequent stipulation from the parties extending time to engage in

13   ADR process (Dkt. 69); on July 19, 2016, the Court granted the Parties’ joint stipulation to

14   continue the hearing on AMD’s motion to dismiss Plaintiffs’ First Amended Complaint and the

15   case management conference (Dkt. 64); on November 14, 2016, the Court granted the Parties’

16   joint stipulation to extend time for Plaintiffs to file a Second Amended Complaint, setting a

17   briefing schedule on Defendant’s motion to dismiss, and to continue the case management

18   conference (Dkt 75); on February 8, 2017, the Court granted the Parties’ joint stipulation to

19   continue the hearing on Defendant’s motion to dismiss the second amended complaint and to

20   continue the case management conference (Dkt. 88); and on June 26, 2017, the Court granted the

21   Parties’ joint stipulation to extend the time for Defendant to answer Plaintiffs’ Second Amended

22   Complaint. (Dkt. 99.)

23          9.      The effect of the Parties’ requested time modification under the Joint Stipulation to

24   Stay Pre-Trial and Trial Deadlines would be to enlarge all current pre-trial and trial deadlines in

25   the above-captioned case for approximately 60 days, to allow for the preparation of a formal

26   settlement agreement and papers in support of Plaintiffs’ anticipated motion for preliminary

27   approval of class settlement.

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                                                                   MARQUEZ DECL. ISO JOINT STIP. TO
                                                    -2-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
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 2        I declare under penalty of perjury that the foregoing is true and correct.

 3        Executed this 31st day of May, 2019, in San Francisco, California.

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                                                        /s/ E. Clay Marquez______
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                                                        E. Clay Marquez
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                                                                 MARQUEZ DECL. ISO JOINT STIP. TO
                                                  -3-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                       CASE NO. 4:15-CV-04922 HSG
